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 November 2, 2011

 VIA ECF

 The Honorable Dora L. Irizarry
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201

         Re:      Bouzzi, et al. v. F&J Pine Restaurant LLC, et al., 10-CV-00457 (DLI)(CLP)

 Dear Judge Irizarry:

 We represent Plaintiffs in the above-referenced action and we write to respectfully inquire about
 the status of the Court’s review of the parties’ settlement agreement in this matter, which was
 originally submitted to the Court on July 1, 2011.

 On August 19, 2011, after careful consideration of the amounts to be recovered by each of the
 twenty (20) individual Plaintiffs, “the arms-length negotiations between the parties, and the
 unavoidable risks and delays that would attend taking the case to trial,” Magistrate Judge Cheryl
 L. Pollak recommended to Your Honor “that the settlement be approved as fair and reasonable.”
 Judge Pollak also denied Defendants’ request to file the settlement agreement under seal, but
 permitted Defendants to submit supplemental authority in support of their request for a partial
 sealing of the monetary amounts contained in the settlement agreement. By additional report and
 recommendation dated September 23, 2011, Judge Pollak denied this request as well.1

 While we understand and respect that any settlement agreement for unpaid wages or unpaid
 overtime pursuant to the Fair Labor Standards Act (“FLSA”) must be supervised by the Courts
 or the Secretary of Labor, a number of the Plaintiffs in this matter have been hoping to rely on
 their settlement payments to cover necessary living expenses such as rent and medical bills.
 Moreover, the Defendants already issued the first series of settlement checks to Plaintiffs’
 counsel, which are being held by counsel until the settlement agreement is approved by Your
 Honor. Therefore, Plaintiffs respectfully request that Your Honor adopt Magistrate Judge
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  As previously stated in writing to Magistrate Judge Pollak, Plaintiffs do not oppose, and thus, take no
 position with respect to Defendants’ request for either a full or partial seal of the settlement agreement.
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 Pollak’s report and recommendation and approve of the parties’ settlement agreement as fair and
 reasonable.

 Respectfully submitted,


 Kenneth P. Thompson


 cc:    Christopher Smith, Esq. (via ECF)
